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 4

 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7
                                                     :
 8    NIKOLAI WEDEKIND, derivatively on              :
      behalf of COSTCO WHOLESALE                     :   Civil Action No. 2:18-cv-01777
 9    CORPORATION,                                   :
                                                     :
10                                      Plaintiff,   :   COMPLAINT
                                                     :
11    v.                                             :
                                                     :
12    HAMILTON E. JAMES, SUSAN                       :
      DECKER, KENNETH D. DENMAN,                     :
13    RICHARD A. GALANTI, W. CRAIG                   :
      JELINEK, RICHARD M. LIBENSON,                  :
14    JOHN W. MEISENBACH, CHARLES T.                 :
      MUNGER, JEFFREY S. RAIKES, JOHN                :   JURY TRIAL DEMANDED
15    W. STANTON, and MARY AGNES                     :
      WILDEROTTER,                                   :
16                                                   :
                                                     :
17                                                   :
                                     Defendants,     :
18                                                   :
      and                                            :
19                                                   :
      COSTCO WHOLESALE                               :
20    CORPORATION,                                   :
                                                     :
21                           Nominal Defendant.      :

22                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

23
            1.      Plaintiff Nikolai Wedekind (“Plaintiff”), by and through his undersigned
24
     attorneys, hereby submits this Verified Shareholder Derivative Complaint (the “Complaint”) for
25

26

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 1   the benefit of nominal defendant Costco Wholesale Corporation (“Costco” or the “Company”)

 2   against certain current and/or former members of its Board of Directors (the “Board”) and

 3   executive officers, seeking to remedy defendants’ breaches of fiduciary duties and unjust

 4   enrichment.

 5                                   NATURE OF THE ACTION

 6          2.      According to its public filings, Costco engages in the operation of membership

 7   warehouses in the United States (U.S.) and Puerto Rico, Canada, United Kingdom (U.K.),

 8   Mexico, Japan, Korea, Australia, Spain, France, Iceland and through majority-owned subsidiaries

 9   in Taiwan. As of September 2, 2018, Costco operated 762 warehouses worldwide. Through the

10   membership warehouses, Costco aims at offering low prices on a limited selection of national

11   products in certain merchandise categories to produce high sales volumes and rapid inventory

12   turnover.

13          3.      On October 26, 2018, Costco filed a Form 10-K with the U.S. Securities and

     Exchange Commission (“SEC”) announcing the Company’s financial and operating results for
14
     the fiscal fourth quarter and fiscal year ended September 2, 2018 (“2018 10-K”), which was
15
     signed and certified under the Sarbanes-Oxley Act of 2002 by the Individual Defendants. Therein,
16
     Costco stated that “We identified a material weakness in internal control related to ineffective
17
     information technology general controls (ITGCs) in the areas of user access and program
18
     change-management over certain information technology (IT) systems that support the
19
     Company’s financial reporting processes.”
20
            4.       On this news, the price of the Company’s common stock declined $8.21 from a
21
     close on October 25, 2018 at $226.40 per share of Costco common stock, to a close on October
22
     26, 2018 at $218.19 per share of Costco common stock.
23
            5.      Accordingly, the Company has been damaged.
24
                                    JURISDICTION AND VENUE
25
            6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §
26

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 1   1332(a)(1) in that Plaintiffs and Defendants are citizens of different states and the matter in

 2   controversy exceeds $75,000.00, exclusive of interests and costs. This Court has supplemental

 3   jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C. §1367(a). This action

 4   is not a collusive one to confer jurisdiction on a court of the United States which it would not

 5   otherwise have.

 6           7.      Venue is proper in this district because a substantial portion of the transactions

 7   and wrongs complained of herein, including the defendants’ primary participation in the wrongful

 8   acts detailed herein, occurred in this district. One or more of the defendants either resides in or

 9   maintains executive offices in this district, and defendants have received substantial

10   compensation in this district by engaging in numerous activities and conducting business here,

11   which had an effect in this district.

12                                             THE PARTIES

13           8.      Plaintiff is a current shareholder of Costco and has continuously held Costco stock

     since 2010. Plaintiff is a citizen of Utah.
14
             9.      Nominal defendant is incorporated in Washington and maintains its principal
15
     offices located at 999 Lake Drive, Issaquah, WA 98027. Costco’s common stock trades on the
16
     NasdaqGS under the ticker symbol “COST.”
17
             10.     Defendant Hamilton E. James (“James”) has served as a director of the Company
18
     since August 1988. James currently serves as the Chairman of the Board. Upon information and
19
     belief, James is a citizen of New York.
20
             11.     Defendant W. Craig Jelinek (“Jelinek”) has served as the Company’s Chief
21
     Executive Officer (“CEO”), President, and Director since February of 2010. Prior to being named
22
     to these positions, Jelinek held various senior management positions in Operations and
23
     Merchandizing since 1984, including the position of Executive Vice President and Chief
24
     Operations Officer since 2004. Upon information and belief, defendant Barton is a citizen of
25
     Washington.
26

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 1          12.     Defendant Susan Decker (“Decker”) has served as a director of the Company since

 2   October 2004. Decker serves on the Board’s Audit Committee. Upon information and belief,

 3   Decker is a citizen of California.

 4          13.     Defendant Kenneth Denman (“Denman”) has served as a director of the Company

 5   since March 2017. Denman serves on the Board’s Compensation Committee, along with its Audit

 6   Committee. Upon information and belief, Denman is a citizen of Colorado.

 7          14.     Defendant Richard A. Galanti (“Galanti”) has served as Executive Vice President

 8   and Chief Financial Officer (“CFO”) of the Company since October 1993, and a director of the

 9   Company since January 1995. In addition, Galanti was Senior Vice President, Chief Financial

10   Officer and Treasurer of the Company from January 1985 to October 1993, having joined as Vice

11   President-Finance in March 1984.      Upon information and belief, Galanti is a citizen of

12   Washington.

13          15.     Defendant Richard Libenson (“Libenson”) has served as a director of the

     Company since October 1993. Upon information and belief, Libenson is a citizen of California.
14
            16.     Defendant John W. Meisenbach (“Meisenbach”) has served as a director of the
15
     Company since the Company’s inception. Upon information and belief, Meisenbach is a citizen
16
     of Washington.
17
            17.     Defendant Charles T. Munger (“Munger”) has served as a director of the Company
18
     since January 1997. Munger serves as the chairperson for the Board’s Audit Committee, and as
19
     a member of the Compensation Committee. Munger is also the Board’s financial expert. Upon
20
     information and belief, Munger is a citizen of Oregon.
21
            18.     Defendant Jeffrey S. Raikes (“Raikes”) has served as a director of the Company
22
     since December 2008. Raikes serves as the chairperson for the Nominating and Governance
23
     Committee. Upon information and belief, Raikes is a citizen of Washington.
24
            19.     Defendant John W. Stanton (“Stanton”) has served as a director of the Company
25
     since 2015. Stanton serves as the chairperson for the Board’s Compensation Committee. Upon
26

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 1   information and belief, Stanton is a citizen of Washington.

 2          20.     Defendant Mary Agnes Wilderotter (“Wilderotter”) has served as a director of the

 3   Company since 2015. Wilderotter serves on the Board’s Nominating and Governance Committee,

 4   along with the Compensation Committee. Upon information and belief, Wilderotter is a citizen

 5   of Nevada.

 6          21.     Collectively, defendants James, Decker, Denman, Galanti, Jelinek, Libenson,

 7   Meisenbach, Munger, Raikes, Stanton, and Wilderotter shall be referred to herein as the

 8   “Individual Defendants.”

 9          22.     Collectively, defendants Munger, Decker, and Denman shall be referred to herein

10   as the “Audit Committee Defendants.”

11                                       DEFENDANTS’ DUTIES

12          23.     By reason of their positions as officers, directors, and/or fiduciaries of Costco and

13   because of their ability to control the business and corporate affairs of Costco, Defendants owed

     Costco and its shareholders fiduciary obligations of good faith, loyalty, and candor, and were and
14
     are required to use their utmost ability to control and manage Costco in a fair, just, honest, and
15
     equitable manner. Defendants were and are required to act in furtherance of the best interests of
16
     Costco and its shareholders so as to benefit all shareholders equally and not in furtherance of their
17
     personal interest or benefit. Each director and officer of the Company owes to Costco and its
18
     shareholders the fiduciary duty to exercise good faith and diligence in the administration of the
19
     affairs of the Company and in the use and preservation of its property and assets, and the highest
20
     obligations of fair dealing.
21
            24.     Defendants, because of their positions of control and authority as directors and/or
22
     officers of Costco, were able to and did, directly and/or indirectly, exercise control over the
23
     wrongful acts complained of herein. Because of their advisory, executive, managerial, and
24
     directorial positions with Costco, each of the Defendants had knowledge of material non-public
25
     information regarding the Company.
26

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 1          25.     To discharge their duties, the officers and directors of Costco were required to

 2   exercise reasonable and prudent supervision over the management, policies, practices and

 3   controls of the Company. By virtue of such duties, the officers and directors of Costco were

 4   required to, among other things:

 5                  a. Exercise good faith to ensure that the affairs of the Company were conducted
                       in an efficient, business-like manner so as to make it possible to provide the
 6                     highest quality performance of their business;

 7                  b. Exercise good faith to ensure that the Company was operated in a diligent,
                       honest and prudent manner and complied with all applicable federal and state
 8                     laws, rules, regulations and requirements, and all contractual obligations,
                       including acting only within the scope of its legal authority; and
 9
                    c. When put on notice of problems with the Company’s business practices and
10                     operations, exercise good faith in taking appropriate action to correct the
                       misconduct and prevent its recurrence.
11
            26.     Pursuant to the Audit Committee’s Charter, the members of the Audit Committee
12
     are required to assist the Board in oversight of:
13          Meet with management and the independent auditor to discuss the annual financial
            statements and the report of the independent auditor, and to discuss significant
14
            issues encountered in the course of the audit work, including: restrictions on the
15          scope of activities; access to required information; the adequacy of internal
            financial controls; the adequacy of the disclosure of off-balance sheet transactions,
16          arrangements, obligations and relationships in reports filed with the SEC; and the
            appropriateness of the presentation of any non-GAAP financial measures included
17          in any report filed with the SEC or in any public disclosure or release. Review and
            discuss with management and the independent auditor management's report on
18
            internal control over financial reporting and the independent auditor's audit
19          concerning the Company's internal control over financial reporting and its
            attestation report prior to the filing of the Form 10-K.
20
                                    SUBSTANTIVE ALLEGATIONS
21
     A.     Background of the Company
22
            27.     According to its public filings, Costco engages in the operation of membership
23
     warehouses in the United States (U.S.) and Puerto Rico, Canada, United Kingdom (U.K.),
24
     Mexico, Japan, Korea, Australia, Spain, France, Iceland and through majority-owned subsidiaries
25
     in Taiwan. As of September 2, 2018, Costco operated 762 warehouses worldwide. Through the
26

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 1   membership warehouses, Costco aims at offering low prices on a limited selection of national

 2   products in certain merchandise categories to produce high sales volumes and rapid inventory

 3   turnover.

 4          28.     On October 18, 2017, Costco filed a Form 10-K with the SEC announcing the

 5   Company’s financial and operating results for the fiscal fourth quarter and fiscal year ended

 6   September 3, 2017 (“2017 10-K”), which was signed and certified under the Sarbanes-Oxley Act

 7   of 2002 by the Individual Defendants. Therein, Costco stated in pertinent part:

 8
            Item 1A—Risk Factors (Continued)
 9                                                  ***
            We rely extensively on information technology to process transactions, compile
10          results, and manage our businesses. Failure or disruption of our primary and back-
11          up systems could adversely affect our businesses. A failure to adequately update
            our existing systems and implement new systems could harm our businesses and
12          adversely affect our results of operations.

13          Given the very high volume of transactions we process each year it is important
            that we maintain uninterrupted operation of our business-critical computer systems.
14          Our systems, including our back-up systems, are subject to damage or interruption
            from power outages, computer and telecommunications failures, computer viruses,
15
            internal or external security breaches, catastrophic events such as fires, earthquakes,
16          tornadoes and hurricanes, and errors by our employees. If our systems are damaged
            or cease to function properly, we may have to make significant investments to fix
17          or replace them, and we may suffer interruptions in our operations in the interim.
            Any material interruption in these systems could have a material adverse effect on
18          our business and results of operations.
19                                                  ***
20
            If we do not maintain the privacy and security of member related and other
21          business information, we could damage our reputation with members, incur
            substantial additional costs, and become subject to litigation.
22
            We receive, retain, and transmit personal information about our members and
23          entrust that information to third-party business associates, including cloud service
            providers that perform activities for us. Our warehouse and online businesses
24
            depend upon the secure transmission of encrypted confidential information over
25          public networks, including information permitting cashless payments. A
            compromise of our security systems or those of our business associates, that results
26

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           in our members' information being obtained by unauthorized persons, could
 1         adversely affect our reputation with our members and others, as well as our
 2         operations, results of operations, financial condition and liquidity, and could result
           in litigation against us or the imposition of penalties. In addition, a breach could
 3         require that we expend significant additional resources related to the security of
           information systems and could disrupt our operations.
 4
           The use of data by our business and our business associates is regulated at the
 5         national and state or local level in all of our operating countries. Privacy and
           information-security laws and regulations change, and compliance with them may
 6
           result in cost increases due to necessary systems changes and the development of
 7         new processes. If we or those with whom we share information fail to comply with
           these laws and regulations, our reputation could be damaged, possibly resulting in
 8         lost future business, and we could be subjected to additional legal risk as a result of
           noncompliance.
 9
           Our security measures may be undermined due to the actions of outside parties,
10
           employee error, internal or external malfeasance, or otherwise, and, as a result
11         an unauthorized party may obtain access to our data systems and misappropriate
           business and personal information. Because the techniques used to obtain
12         unauthorized access, disable or degrade service, or sabotage systems change
           frequently and may not immediately produce signs of intrusion, we may be unable
13         to anticipate these techniques, timely discover or counter them, or implement
           adequate preventative measures. Any such breach or unauthorized access could
14         result in significant legal and financial exposure, damage to our reputation, and
15         potentially have an adverse effect on our business.

16   (Emphasis added)

17         29.    Regarding disclosure controls and procedures, Costco stated in relevant part:

18         Item 9A—Controls and Procedures

19         Disclosure Controls and Procedures
20
           As of the end of the period covered by this Annual Report on Form 10-K, we
21         performed an evaluation under the supervision and with the participation of
           management, including our Chief Executive Officer and Chief Financial Officer,
22         of our disclosure controls and procedures (as defined in Rules 13a-15(e) or 15d-
           15(e) under the Securities and Exchange Act of 1934 (the Exchange Act)). Based
23         upon that evaluation, our Chief Executive Officer and Chief Financial Officer
24

25

26

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            concluded that, as of the end of the period covered by this Annual Report, our
 1          disclosure controls and procedures are effective.
 2
            There has been no change in our internal control over financial reporting (as defined
 3          in Rules 13a-15(f) or 15d-15(f) of the Exchange Act) during our fiscal quarter
            ended September 3, 2017, that has materially affected or is reasonably likely to
 4          materially affect our internal control over financial reporting.
 5          30.       On June 6, 2018 after the market close, Costco filed a Form 10-Q with the SEC
 6
     announcing the Company’s financial and operating results for the third fiscal quarter and nine
 7
     months ended May 13, 2018 (“Q3 2018 10-Q”), which was signed and certified under the
 8
     Sarbanes-Oxley Act of 2002 by the Individual Defendants. Therein, the Company stated in
 9
     relevant part:
10

11          Item 4—Controls and Procedures (Continued)

12          Chief Financial Officer, of our disclosure controls and procedures (as defined in
            Rules 13a-15(e) and 15d-15(e) under the Securities and Exchange Act of 1934 (the
13          Exchange Act)). Based upon that evaluation, our Chief Executive Officer and
            Chief Financial Officer concluded that, as of the end of the period covered by
14          this Quarterly Report, our disclosure controls and procedures are effective.
15
            There have been no changes in our internal control over financial reporting (as
16          defined in Rules 13a-15(f) or 15d-15(f) of the Exchange Act) during our most
            recently completed fiscal quarter that have materially affected or are reasonably
17          likely to materially affect our internal control over financial reporting.
18                                                 ***
19
            Item 1A—Risk Factors
20
            In addition to the other information set forth in the Quarterly Report on Form 10-
21          Q, you should carefully consider the factors discussed in Part I, Item 1A, "Risk
            Factors" in our Annual Report on Form 10-K, for the fiscal year ended September
22          3, 2017. There have been no material changes in our risk factors from those
            disclosed in our Annual Report on Form 10-K.
23

24
     (Emphasis added).
25

26

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 1          31.     These misrepresented and failed to disclose the following adverse facts pertaining

 2   to the Company’s business, operations, and prospects, which were known to Defendants or

 3   recklessly disregarded by them. Specifically, Defendants failed to disclose that: (i) Costco lacked

 4   effective internal control over financial reporting; (ii) as a result of the foregoing, Defendants’

 5   statements about Costco’s business, operations, and prospects were false and misleading, and/or

 6   lacked a reasonable basis.

 7      B. The Truth Emerges

 8          32.     On October 4, 2018, Costco issued a press release, also attached as exhibit 99.1 to

 9   the Form 8-K filed with the SEC announcing the Company’s financial and operating results for

10   the fourth fiscal quarter and fiscal year ended September 2, 2018 (“FY 2018 Press Release”).
11   Therein, Costco stated in relevant part:
12
            COSTCO WHOLESALE CORPORATION REPORTS FOURTH QUARTER
13          AND FISCAL YEAR 2018 OPERATING RESULTS
14          ISSAQUAH, Wash., October 4, 2018—Costco Wholesale Corporation (“Costco”
15          or the “Company”) (Nasdaq: COST) today announced its operating results for the
            16-week fourth quarter and the 52-week fiscal year ended September 2, 2018.
16
            Net sales for the 16-week fourth quarter were $43.4 billion, an increase of 5.0
17          percent from $41.4 billion in the 17-week fourth quarter last year. Net sales for the
            52-week fiscal year were $138.4 billion, an increase of 9.7 percent from $126.2
18          billion in the 53-week fiscal year of 2017.
19
                                                    ***
20
            While the Company is still completing its assessment of the effectiveness of its
21          internal control over financial reporting as of September 2, 2018, in its upcoming
            fiscal 2018 Annual Report on Form 10-K, it expects to report a material weakness
22          in internal control. The weakness relates to general information technology
            controls in the areas of user access and program change management over
23
            certain information technology systems that support the Company’s financial
24          reporting processes. The access issues relate to the extent of privileges afforded
            users authorized to access company systems. As of the date of this release, there
25          have been no misstatements identified in the financial statements as a result of these
            deficiencies, and the Company expects to timely file its Form 10-K. Remediation
26

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            efforts have begun; the material weakness will not be considered remediated until
 1          the applicable controls operate for a sufficient period of time and management has
 2          concluded, through testing, that these controls are operating effectively. The
            Company expects that the remediation of this material weakness will be completed
 3          prior to the end of fiscal year 2019.

 4          33.     In an earnings call later that same day, when prompted by an analyst question
 5   defendant Galanti elaborated on the process of remediation efforts, emphasizing certain
 6
     uncertainties. Therein, defendant Galanti stated in relevant part:
 7
            Well, keep in mind, first of all, that we feel comfortable, and we feel that our --
 8          ultimately, our auditors feel comfortable. We wouldn't have expressed the level of
            comfort we did in the press release about the time that there's no mistake [there's
 9          the timing that] we filed on time, including the K. The issues had to do with internal
            user access, so people within IT or contractors and when somebody who may have
10
            had access to something they should have and sometimes that they -- once they
11          should have had that access relieved, it took a little too long to do so. So the controls
            weren't in place. We should have done a better job. We went back as far as we
12          could and looked back as far as we could in some systems for the entire fiscal
            year, which is what you want to do. In some of the newer systems, there was no
13          look back ability for certain things. I can tell you with all the look backs that we
            have done and then our outside help has done has found no issues whatsoever in
14          terms of misstatements or breaches. So that's what we can tell you. But we can't
15          be more positive than that until we release the 10-K. And as -- and so I don't want
            to belittle it. We should have -- it should have been fixed, but it was internal to us,
16          not external. And we'll go from there.

17          34.     On this news, the price of the Company’s common stock declined $12.86 from a
18   close on October 4, 2018 at $231.68 per share of Costco common stock, to a close on October 5,
19
     2018 at $218.82 per share of Costco common stock.
20
            35.     On October 26, 2018, Costco filed a Form 10-K with the SEC announcing the
21
     Company’s financial and operating results for the fiscal fourth quarter and fiscal year ended
22
     September 2, 2018 (“2018 10-K”), which was signed and certified under the Sarbanes-Oxley Act
23

24   of 2002 by the Individual Defendants. Therein, Costco stated in pertinent part:

25          We identified a material weakness in internal control related to ineffective
            information technology general controls (ITGCs) in the areas of user access and
26

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            program change-management over certain information technology (IT) systems
 1          that support the Company’s financial reporting processes. Our business process
 2          controls (automated and manual) that are dependent on the affected ITGCs were
            also deemed ineffective because they could have been adversely impacted. We
 3          believe that these control deficiencies were a result of: IT control processes lacking
            sufficient documentation such that the successful operation of ITGCs was overly
 4          dependent upon knowledge and actions of certain individuals with IT expertise,
            which led to failures resulting from changes in IT personnel; insufficient training
 5          of IT personnel on the importance of ITGCs; and risk-assessment processes
            inadequate to identify and assess changes in IT environments that could impact
 6
            internal control over financial reporting. The material weakness did not result in
 7          any identified misstatements to the financial statements, and there were no changes
            to previously released financial results. Based on this material weakness, the
 8          Company’s management concluded that at September 2, 2018, the Company’s
            internal control over financial reporting was not effective.
 9
            36.     On this news, the price of the Company’s common stock declined $8.21 from a
10

11   close on October 25, 2018 at $226.40 per share of Costco common stock, to a close on October

12   26, 2018 at $218.19 per share of Costco common stock.

13
                           DERIVATIVE AND DEMAND ALLEGATIONS
14
            37.     Plaintiff brings this action derivatively in the right and for the benefit of Costco to
15
     redress the breaches of fiduciary duty and other violations of law by Defendants.
16
            38.     Plaintiff will adequately and fairly represent the interests of Costco and its
17
     shareholders in enforcing and prosecuting its rights.
18
            39.     The Board currently consists of the following eleven (11) directors: defendants
19
     James, Decker, Denman, Galanti, Jelinek, Libenson, Meisenbach, Munger, Raikes, Stanton, and
20
     Wilderotter. Plaintiff has not made any demand on the present Board to institute this action
21
     because such a demand would be a futile, wasteful and useless act, for the following reasons:
22
                    a. The principal professional occupations of defendants Jelinek and Galanti are
23                     their employment with Costco as its CEO and CFO respectively, pursuant to
                       which they have received and continues to receive substantial monetary
24                     compensation and other benefits;

25                  b. According to the Company’s December 15, 2017 Proxy Statement (the “2017
                       Proxy”) the Board has determined that defendants Galanti, Jelinek, Libenson,
26

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                         and Meisenbach are not independent directors within the meaning of
 1                       NASDAQ rules because they have a relationship that would interfere with the
                         exercise of their independent judgment in carrying out the responsibilities of
 2                       a director; and
 3                   c. The Audit Committee Defendants (Munger, Decker, Denman) each face a
                        substantial likelihood of liability for their failure to take steps to ensure the
 4                      Company’s regulatory compliance. The Audit Committee Charter specifically
                        charges the members of the Audit Committee with ensuring the Company’s
 5                      compliance with legal and regulatory requirements, and the Audit Committee
                        Defendants violated their duties of loyalty and good faith by failing to take
 6                      adequate steps to ensure such compliance.

 7                                   COUNT I
            AGAINST ALL DEFENDANTS FOR BREACH OF FIDUCIARY DUTY FOR
 8                   DISSEMINATING INACCURATE INFORMATION

 9           40.     Plaintiff incorporates by reference and realleges each and every allegation set forth

10   above, as though fully set forth herein.

11           41.     As alleged in detail herein, each of the Defendants had a duty to ensure that Costco

12   disseminated accurate, truthful and complete information to its shareholders.

13           42.     Defendants violated their fiduciary duties of loyalty and good faith by causing or

     allowing the Company to disseminate to Costco shareholders materially misleading and
14
     inaccurate information through, inter alia, SEC filings, press releases, conference calls, and other
15
     public statements and disclosures as detailed herein. These actions could not have been a good
16
     faith exercise of prudent business judgment.
17
             43.     As a direct and proximate result of Defendants’ foregoing breaches of fiduciary
18
     duties, the Company has suffered significant damages, as alleged herein.
19
                                    COUNT II
20            AGAINST ALL DEFENDANTS FOR BREACH OF FIDUCIARY DUTIES
                   FOR FAILING TO MAINTAIN INTERNAL CONTROLS
21
             44.     Plaintiff incorporates by references all preceding and subsequent paragraphs as if
22
     fully set forth herein.
23
             45.     As alleged herein, each of the Defendants (and particularly the Audit Committee
24
     Defendants) had a fiduciary duty to, among other things, exercise good faith to ensure the
25
     Company’s compliance with legal and regulatory requirements, and, when put on notice of
26

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 1   problems with the Company’s business practices and operations, exercise good faith in taking

 2   appropriate action to correct the misconduct and prevent its recurrence.

 3           46.     As a direct and proximate result of the Defendants’ foregoing breaches of

 4   fiduciary duties, the Company has sustained damages.

 5                                     COUNT III
                     AGAINST ALL DEFENDANTS FOR UNJUST ENRICHMENT
 6
             47.     Plaintiff incorporates by reference all preceding and subsequent paragraphs as if
 7
     fully set forth herein.
 8
             48.     By their wrongful acts and omissions, Defendants were unjustly enriched at the
 9
     expense of and to the detriment of Costco.
10
             49.     Plaintiff, as a shareholder and representative of Costco, seeks restitution from
11
     Defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits,
12
     and other compensation obtained by Defendants, and each of them, as a result of their wrongful
13
     conduct and fiduciary breaches.
14                                       PRAYER FOR RELIEF
15           WHEREFORE, Plaintiff demands judgment as follows:
16           A.      Against all Defendants and in favor of the Company for the amount of damages
17   sustained by the Company as a result of Defendants’ breaches of fiduciary duties;
18           B.      Directing Costco to take all necessary actions to reform and improve its corporate
19   governance and internal procedures to comply with applicable laws and to protect the Company
20   and its shareholders from a repeat of the damaging events described herein, including, but not
21   limited to, putting forward for shareholder vote resolutions for amendments to the Company’s
22   By-Laws or Articles of Incorporation and taking such other action as may be necessary to place
23   before shareholders for a vote a proposal to strengthen the Board’s supervision of operations and
24   develop and implement procedures for greater shareholder input into the policies and guidelines
25   of the Board;
26

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 1          C.      Awarding to Costco restitution from Defendants, and each of them, and ordering

 2   disgorgement of all profits, benefits and other compensation obtained by Defendants;

 3          D.      Awarding to Plaintiff the costs and disbursements of the action, including

 4   reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

 5          E.      Granting such other and further relief as the Court deems just and proper.

 6                                           JURY DEMAND

 7          Plaintiff demands a trial by jury.

 8

 9   DATED this 11th day of December, 2018.

10
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